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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-05810-SVW-MRW Date February 22, 2017

 

Titl€ Fift_v-Six Hope Road, et aI. v. Jammin Java Corporation

 

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

Paul M. Cruz N/A
Deputy Clerk C ourt Reporter / Recorder
Attomeys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: IN CHAMBERS ORDER GRANTING PLAINTIFFS’ MOTION FOR

PARTIAL SUMMARY JUDGMENT [112].

Plaintiffs Hope Road Merchandising, LLC and Fifty-Six Hope Road Music Limited (“Plaintiffs”
or “Hope Road parties”) bring this action against Jammin Java Corporation (“Defendant”), for breach of
contract, declaratory relief, interference with prospective economic advantage, trademark infringement
under the Lanham Act, and fraudulent misrepresentation Complaint, Dkt. l (“Complaint”). ln
response, the Defendant brought counterclaims against the Plaintiffs for breach of contract, interference
With prospective economic advantage, and fraudulent misrepresentation However, after this Court’s
Order granting in part the Plaintiffs’ original Motion for Partial Summary Judgment, Dkt. 97, the
Defendant voluntarily dismissed all of its counterclaims With prejudice. Dkt. 103.

Presently before the Court is Plaintiffs’ second Motion for Paltial Summary Judgment wherein
the Plaintiffs seek a finding that they are entitled to summary judgment on their claims regarding the
Defendant’s breach of contract of the Short Terrn License and a finding that the Plaintiffs properly
terminated that license under the terms of the contract. Dkt. 112. The Defendant does not oppose the
Motion. Dkt. 116. For the reasons set out below, the Court finds that the Plaintiffs properly
terminated the Short Term License and are entitled to a fmding as a matter of law that the Defendant
breached the contract. The Motion for Partial Summary Judgment is GRANTED.

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2: l6-cv-05810-SVW-MRW Date February 22, 2017

 

Tifl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

I. FACTUAL AND PROCEDURAL BACKGROUND

The facts of the case as understood by the Court are well-known to the parties from previous
orders. See, e.g., Dkt. 97. In 2012 the Plaintiffs and the Defendant entered into business together.
The Plaintiffs agreed to license certain trademarks relating to singer Bob Marley to the Defendant in
order to allow the Defendant to sell a product called “Marley Coffee.” After not receiving the proper
royalty payments from the Defendant, the Plaintiffs terminated the original long-term license agreement
on June 2, 2()16.l After the Long Tenn License was terminated, the parties entered into a Short Term
License that would last for six months and would allow the Defendant to continue using the Marley
Trademarks while the parties explored whether they could continue their business arrangement long
tenn. The Short Term License incorporated substantially the same terms as the Long Term License.

When the Plaintiffs conducted due diligence on the Defendant, they learned that the Defendant
had materially breached the Short Term License. These breaches included the Defendant’s cessation of
operations with respect to Marley Coffee, failing to conduct advertising and marketing to support the
Marley Coffee brand, unlawful sublicensing and assignment of the Short Term License to third parties,
and failure to pay the royalties owed under the Long Term License. As a result of these breaches, the
Plaintiffs formally terminated the Short Tenn License on or about July 21, 2016.

The current Motion for Summary Judgment addresses only the breach and subsequent
termination of the Short Term License. The Plaintiffs contend that the Defendant breached the Short
Term License and the Plaintiffs then properly terminated the agreement Further, the Plaintiffs contend
that the Defendant owes a total of $371,159. 16 in unpaid royalties to the Plaintiffs accrued under both
the Long Term and Short Term Licenses. Although the Defendant has not opposed the Plaintiffs’
Motion, the Court must still examine the sufficiency of the Plaintiffs’ Motion, as such a motion may not
be granted based solely on the failure to file an opposition. L.R. 7-12.

II. LEGAL STANDARD FOR SUMMARY JUDGN[ENT

Summary judgment is appropriate if there is no genuine issue of material fact and the moving
party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). The moving party bears the initial

 

l 'I'he Court has already decided in a previous Order that the Plaintiffs properly terminated the Long Terrn License due to the
Defendant’s breach of contract Dkt. 97.

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
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responsibility of informing the court of the basis of its motion, and identifying those portions of the
pleadings, depositions, answers to interrogatories, admissions, or affidavits that demonstrate the absence
of a triable issue of material fact. Celotex Corp. v. Calrett, 477 U.S. 317, 323 (1986). In determining a
motion for summary judgment, all reasonable inferences from the evidence must be drawn in favor of
the nonmoving party. Anderson v. Liberty Lobby, lnc., 477 U.S. 242, 255 (1986). A genuine issue exists
if “the evidence is such that a reasonable jury could return a verdict for the nonmoving party,” and
material facts are those “that might affect the outcome of the suit under the governing law.” Id. at 248.
However, no genuine issue of fact exists “[w]here the record taken as a Whole could not lead a rational
trier of fact to find for the non-moving paity.” Mafsushim Elec. Irm’us. C0. v. Zem`th Raa’io Corp., 475
U.S. 574, 587 (1986).

Although the failure to file an opposition may normally be deemed consent to the granting of the
motion, “a motion pursuant to F.R.Civ.P. 56 may not be granted solely based on the failure to file an
opposition.” L.R.7-12.

III. DISCUSSION

The Court now finds that the Plaintiffs have sufficiently demonstrated that they are entitled to
judgment as a matter of law on its breach of contract claim relating to the Short Term License and a
finding that they properly terminated the Short Term License.

A. Defendant’s Breach of the Short Term License

ln order to establish liability for breach of contract, the Plaintiffs need prove the following
elements: (l) a contract; (2) Plaintiffs’ performance or excuse for failure to perform; (3) Defendant’s
breach of the contract; and (4) damage to Plaintiffs resulting from the breach. McDonald v. Jolm P.
Scripps Newspaper, 210 Cal. App. 3d 100, 104 (1989). There is no genuine dispute of material fact as
to any of these elements, and the Plaintiffs are entitled to summary judgment as a result.

First, on July 6, 2016, the parties entered into a fully executed written contract that had gone into
effect on June 27, 2016. Declaration of Bonnie Eskenazi, Dkt. 112-4 (“Eskenazi Decl_”), Ex. 1 (“Short
Term License”). 'I`he parties titled this agreement the Short Term License, as it Was designed to only
last for a period of six months.

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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Titl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

Second, the Plaintiffs did not breach the Short Term License and performed all of their duties
under the contract. They granted a license to the Defendant to use the Marley Coffee trademark in
connection with selling coffee products. Short Term License at § l. The grant of the license fulfilled
the obligations of the Plaintiffs to the Defendant Although previously in the litigation the Defendant
alleged that the Plaintiffs breached the Long Term License, the Defendant has not specifically alleged
that the Plaintiffs breached any terms of the Short Term License. Therefore, the Court finds that based
on the undisputed evidence the Plaintiffs have performed their duties under the Short Term License.

Third, the Court finds that the Defendant breached the Short Term License based on the evidence
now before the Court. The Defendant ceased operations of its Marley Coffee business due to its
inability to pay its suppliers and distributors, it failed to fill all accepted purchase orders for licensed
property, it failed to conduct the advertising of Marley Coffee in an appropriate manner, it improperly
sublicensed or assigned its rights under the Short Term License,2 and failed to correct the breaches
when the Plaintiffs gave it notification3 All of these actions violated the terms of the Short Term
License and constituted breaches of the agreement. See Short Term License at §§ 1(a), lO(b)(iv),
14(a), 15(a)(iv), 20(c).

Finally, it is clear that the Plaintiffs have been damaged by the Defendant’s breaches of contract
Most obviously, the Defendant has failed to make proper royalty payments under both the Long Term
License and Short Term License, totaling $371,324 in unpaid royalties. Eskenazi Decl. at 1[ 22, Ex. 13.
Therefore, it is undisputed that the Plaintiffs have suffered damages totaling at least $371,324 as the
result of the Defendant’s breach of contract in failing to make the proper royalty payments.

As the Plaintiffs have presented sufficient undisputed evidence to satisfy their breach of contract
claim, the Court now rules that the Plaintiffs are entitled to partial summary judgment that the Defendant
breached the Short Teim License and suffered damages of at least $371,159 in unpaid royalties due

 

2 Specifically, the Defendant granted certain lenders_. including Power Up Lending Group, Inc., a security interest in the
company’s “general intangibles,” which Would include the Defendant’s license from the Plaintiffs. Eskenazi Decl. at 1[ 15,
Ex. 7.

3 'I'he Defendant’s failure to cure ongoing breaches, including breaches stennning from its other agreements With the
Plaintiffs. constituted independent grounds of temiination of the Short 'I`erm License. See Short Term License at § 15(a)(iv).

 

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UNITED STATES DISTRICT COURT
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under both the Short Term License and Long Term License.4
B. Plaintiffs’ Termination of the Short Term License

The Court now also finds that the Plaintiffs’ termination of the Short Term License was valid
under the law. “‘Termination [of a contract] occurs when either party pursuant to a power created by
agreement or law puts an end to the contract otherwise than for its breach.” l Witkin, Summary of
Califomia Law, Contracts, § 925 (lOth ed. 2005); see also Martter v. B_vers, 75 Cal. App. 2d 375, 380
(1946). Tlie Short Term License provides several grounds on which the Plaintiffs are permitted to
terminate the agreement, including if the Defendant ceases operations, Short Teim License at
§ 15(a)(iv); if the Defendant breaches any of the other terms of the Short Term License, Short Term
License at § 15(a)(ii); or if the Defendant breaches any of the other agreements with the Plaintiffs,
including the Long Term License and the promissory note that the parties entered into concurrently with
the Short Term License, Short Term License at § 15(a)(iv). ln its July 21, 2016 Tennination Notice,
the Plaintiffs provided written notice to the Defendant of the various breaches and grounds for
termination Eskenazi Decl. at 11 20, Ex. 11. Because several of the grounds of termination were not
curable or allowed for immediate termination under the Short Term License, the License Was
immediately terminated when the termination notice was sent.

As a result of the foregoing analysis, the C ourt now finds that the Plaintiffs properly terminated
the Short Term License. The undisputed evidence shows that the Defendant’s breached the Short Term
License, and the agreement allowed the Plaintiffs’ to immediately terminate the agreement Thus, the
Short Term License was effectively terminated on July 21, 2016, when the Plaintiffs sent the Defendant
the termination notice. The only provisions that remain in effect are the ones that survive termination
according to the terms of the agreement, including the obligation of the Defendant to pay royalties to the
Plaintiffs.

 

4 'I'he sum of $371,159 is inclusive of the $297,324 in unpaid royalties granted to the Plaintiffs by this Court in its Order
granting the Plaintiffs partial summary judgment on their breach of contract claim related to the Long Term License. See
Dkt. 97 at 3.

 

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UNITED STATES DISTRICT COURT
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IV. ORDER
For the foregoing reasons, the C ourt GRANTS the Plaintiffs’ unopposed Motion for Partial

Summary Judgment. The Defendant is liable for breach of contract relating to the Short Term License,
and the Short Teim License Was validly terminated by the Plaintiffs on July 21, 2016.

IT IS SO ORDERED.

 

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